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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA


   Manuel Tomas,
                                                   Case No. 1:24-cv-21437
         Plaintiff,

   v.

   Central Portfolio Control, Inc.;
   Experian Information Solutions, Inc.; and
   TransUnion, LLC,

         Defendants.


                                      COMPLAINT

                                      INTRODUCTION

        1.     This is an action brought by an individual consumer for violations of the Fair

  Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq. and the Fair Debt Collection

  Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                JURISDICTION AND VENUE

        2.     This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681p,

  15 U.S.C. § 1692k(d), and 28 U.S.C. § 1331.

        3.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

                                          PARTIES

        4.     Plaintiff is an individual residing in Miami-Dade County, FL.

        5.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1681a(c).

        6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).



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         7.     Defendant Central Portfolio Control, Inc. (“CPC”) is a furnisher of consumer

  credit information to consumer reporting agencies.

         8.     CPC was at all relevant times engaged in the business of attempting to collect

  a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

         9.     CPC is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

         10.    Defendant Experian Information Solutions, Inc. is engaged in the business of

  maintaining and reporting consumer credit information for profit.

         11.    Experian is a “consumer reporting agency” as that term is defined by 15

  U.S.C. § 1681a(f).

         12.    Defendant TransUnion, LLC is engaged in the business of maintaining and

  reporting consumer credit information for profit.

         13.    TransUnion is a “consumer reporting agency” as that term is defined by 15

  U.S.C. § 1681a(f).

                    FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         14.    At relevant times, Plaintiff was allegedly obligated to pay a medical debt

  originating with Paragon Contracting Services, LLC.

         15.    The account arises from a transaction in which the money, property,

  insurance, or services that are the subject of the transaction were incurred primarily for

  personal, family, or household purposes.

         16.    CPC acquired the account after it was allegedly in default.

         17.    CPC uses instrumentalities of interstate commerce or the mails in a business

  the principal purpose of which is the collection of any debts.


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         18.    CPC regularly collects or attempts to collect, directly or indirectly, debts

  once owed or due, or once asserted to be owed or due, another.

         19.    In or about October 2023, Plaintiff reached a settlement agreement with a

  debt collector, Elevate Recoveries, LLC, who was collecting the account on behalf of the

  creditor.

         20.    The agreement called for a lump sum payment to be made for $1,313.00.

         21.    Plaintiff timely paid the settlement payment required under the agreement on

  or about October 31, 2023, and the funds cleared on or about November 7, 2023.

         22.    At that time, the account was satisfied in full, and there was no balance due

  and owing.

         23.    In or around February 2024, Plaintiff checked Plaintiff’s credit reports and

  noticed that CPC was reporting inaccurate information regarding the account.

         24.    Specifically, CPC reported that the account was still delinquent with a past

  due balance owing.

         25.    The false information regarding the account appearing on Plaintiff’s

  consumer report harms Plaintiff because it does not accurately depict Plaintiff’s credit

  history and creditworthiness, and overstates Plaintiff’s credit utilization and liability.

         26.    Experian and TransUnion published the false information regarding the

  account to third parties.

         27.    Plaintiff has lost time and incurred expense working to resolve the adverse

  information associated with the account to prevent further harm.




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                                     WRITTEN DISPUTE

         28.    On or about February 12, 2024, Plaintiff sent a written letter to Experian and

  TransUnion disputing the inaccurate information regarding the account reporting on

  Plaintiff’s consumer report, and requesting a description of the procedure used to determine

  the accuracy and completeness of the information Plaintiff was disputing.

         29.    Experian and TransUnion forwarded Plaintiff’s dispute to CPC for

  reinvestigation.

         30.    CPC received notification of Plaintiff’s dispute from Experian and

  TransUnion.

         31.    CPC failed to conduct a reasonable investigation, failed to contact Plaintiff

  or any third parties, and failed review underlying account information with respect to the

  disputed information and the accuracy of the disputed information.

         32.    Experian and TransUnion failed to conduct an investigation, contact

  Plaintiff, contact third parties, or review underlying account information with respect to

  the disputed information and the accuracy of the disputed information.

         33.    CPC failed to instruct Experian and TransUnion to correct the false

  information reporting on Plaintiff’s consumer report.

         34.    Experian and TransUnion employed an investigation process that was not

  reasonable and did not remove the false information identified in Plaintiff’s dispute.

         35.    Experian and TransUnion employed internal processes that were not

  reasonable and failed to ensure the maximum possible accuracy of the information reported

  on Plaintiff’s consumer report.


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         36.    At no point after receiving the disputes did any Defendant communicate with

  Plaintiff to determine the veracity and extent of Plaintiff’s dispute.

                                        COUNT I – CPC

                (Fair Credit Reporting Act Violation – 15 U.S.C. § 1681s-2(b))

         37.    Plaintiff re-alleges and reaffirms paragraphs 1-5, 7, 14-31, 33, and 36 as

  though fully set forth herein.

         38.    After receiving Plaintiff’s dispute, CPC failed to correct the false information

  regarding the account reporting on Plaintiff’s consumer reports.

         39.    CPC violated 15 U.S.C. § 1681s-2(b) by failing to fully and properly

  investigate Plaintiff’s dispute; by failing to review all relevant information regarding

  Plaintiff’s dispute; by failing to accurately respond to credit reporting agencies; by

  verifying false information; and by failing to permanently and lawfully correct its own

  internal records to prevent the re-reporting of false representations to the consumer credit

  reporting agencies, among other unlawful conduct.

         40.    As a result of this conduct, action, and inaction of CPC, Plaintiff suffered

  damages, and continues to suffer actual damages, including economic loss, damage to

  reputation, emotional distress, and interference with Plaintiff’s normal and usual activities

  for which Plaintiff seeks damages in an amount to be determined by the trier of fact.

         41.    CPC’s conduct, action, and inaction was willful, entitling Plaintiff to recover

  punitive damages pursuant to 15 U.S.C. § 1681n.

         42.    In the alternative, CPC was negligent, entitling Plaintiff to recover damages

  under 15 U.S.C. § 1681o.


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          43.   Plaintiff is entitled to recover costs and attorneys’ fees from CPC pursuant

  to 15 U.S.C. § 1681n and/or 15 U.S.C. § 1681o.

                           COUNT II – Experian and TransUnion

                (Fair Credit Reporting Act Violation – 15 U.S.C. § 1681e(b))

          44.   Plaintiff re-alleges and reaffirms paragraphs 1-5, 10-15, 19-29, 32, 34, and

  35-36 as though fully set forth herein.

          45.   After receiving Plaintiff’s dispute, Experian and TransUnion failed to correct

  the false information reporting on Plaintiff’s consumer report.

          46.   Experian and TransUnion violated 15 U.S.C. § 1681e(b) by failing to

  establish or to follow reasonable procedures to assure maximum possible accuracy in the

  preparation of the credit reports and credit files it published and maintained concerning

  Plaintiff.

          47.   As a result of this conduct, action and inaction of Experian and TransUnion,

  Plaintiff suffered damage, and continues to suffer actual damages, including economic loss,

  damage to reputation, emotional distress, and interference with Plaintiff’s normal and usual

  activities for which Plaintiff seeks damages in an amount to be determined by the trier of

  fact.

          48.   The conduct, action, and inaction of Experian and TransUnion was willful,

  entitling Plaintiff to recover punitive damages pursuant to 15 U.S.C. § 1681n.

          49.   In the alternative, Experian and TransUnion acted negligently, and Plaintiff

  is entitled to recover damages under 15 U.S.C. § 1681o.




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          50.   Plaintiff is entitled to recover costs and attorneys’ fees from Experian and

  TransUnion pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                           COUNT III – Experian and TransUnion

                  (Fair Credit Reporting Act Violation – 15 U.S.C. § 1681i)

          51.   Plaintiff re-alleges and reaffirms paragraphs 1-5, 10-15, 19-29, 32, 34, and

  35-36 as though fully set forth herein.

          52.   After receiving Plaintiff’s dispute, Experian and TransUnion failed to correct

  the false information reporting on Plaintiff’s consumer report.

          53.   Experian and TransUnion violated 15 U.S.C. § 1681i by failing to delete

  inaccurate information in Plaintiff’s credit files after receiving actual notice of such

  inaccuracies, by failing to conduct lawful reinvestigations, by failing to maintain

  reasonable procedures with which to filter and verify disputed information in Plaintiff’s

  credit files, and by failing to provide Plaintiff with a description of its procedures used to

  determine the accuracy and completeness of the disputed information.

          54.   As a result of this conduct, action and inaction of Experian and TransUnion,

  Plaintiff suffered damage, and continues to suffer actual damages, including economic loss,

  damage to reputation, emotional distress and interference with Plaintiff’s normal and usual

  activities for which Plaintiff seeks damages in an amount to be determined by the trier of

  fact.

          55.   The conduct, action, and inaction of Experian and TransUnion was willful,

  entitling Plaintiff to recover punitive damages pursuant to 15 U.S.C. § 1681n.




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         56.      In the alternative, Experian and TransUnion acted negligently, and Plaintiff

  is entitled to recover damages under 15 U.S.C. § 1681o.

         57.      Plaintiff is entitled to recover costs and attorneys’ fees from Experian and

  TransUnion pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                                        COUNT IV – CPC

                (Fair Debt Collection Practices Act Violation – 15 U.S.C. § 1692e)

         58.      Plaintiff re-alleges and reaffirms paragraphs 1-4, 6-9, 14-31, 33, and 36 as

  though fully set forth herein.

         59.      Congress enacted the FDCPA to “eliminate abusive debt collection practices,

  to ensure that debt collectors who abstain from such practices are not competitively

  disadvantaged, and to promote consistent state action to protect consumers.” Jerman v.

  Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 577 (2010) (citing 15 U.S.C.

  § 1692(e)).

         60.      “The FDCPA is a strict liability statute to the extent it imposes liability

  without proof of an intentional violation.” Allen ex rel. Martin v. LaSalle Bank, N.A., 629

  F.3d 364, 368 (3d Cir. 2011).

         61.      “It is a remedial statute that we ‘construe . . . broadly, so as to effect its

  purpose.’” Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008) (quoting Brown

  v. Card Serv. Ctr., 464 F.3d 450, 453 (3d Cir. 2006)).

         62.      More broadly, the FDCPA was enacted in order to eliminate abusive debt

  collection practices, which contribute to the number of personal bankruptcies, marital

  instability, loss of employment, and invasions of privacy as well as insure that debt


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  collectors who refrain from using such practices are not competitively disadvantaged. See,

  e.g., 15 U.S.C. § 1692(a), (e); Lesher v. Law Offices of Mitchell N. Kay, PC, 650 F.3d 993,

  996 (3d Cir. 2011).

         63.    “[C]ourts have analyzed the statutory requirements [of the FDCPA] ‘from

  the perspective of the least sophisticated debtor.’ This standard is less demanding than one

  that inquires whether a particular debt collection communication would mislead or deceive

  a reasonable debtor.” Campuzano-Burgos v. Midland Credit Management, Inc., 550 F.3d

  294, 298 (3d Cir. 2008) (quoting Rosenau, 539 F.3d at 221); see also Clomon v. Jackson,

  988 F.2d 1314, 1318 (2d Cir. 1993) (“The basic purpose of the ‘least-sophisticated

  consumer’ standard is to ensure that the FDCPA protects all consumers, the gullible as well

  as the shrewd.”).

         64.    The FDCPA creates a broad, flexible prohibition against the use of

  misleading, deceptive, or false representations in the collection of debts. See 15 U.S.C. §

  1692e; Hamilton v. United Healthcare of Louisiana, Inc., 310 F.3d 385, 392 (5th Cir. 2002)

  (citing legislative history reference to the FDCPA’s general prohibitions which “will

  enable the courts, where appropriate, to proscribe other improper conduct which is not

  specifically addressed”).

         65.    Included as an example of conduct that violates section 1692e is the false

  representation of the character, amount, or legal status of a debt. 15 U.S.C. § 1692e(2)(A).

         66.    Thus, the plain language of the FDCPA makes it clear that under the strict

  liability framework, any false representation as to the amount of the debt is sufficient to

  show a violation of the FDCPA. See Randolph v. IMBS, Inc., 368 F.3d 726, 730 (7th Cir.


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  2004) (“§ 1692e(2)(A) creates a strict-liability rule. Debt collectors may not make false

  claims, period.”); see also Turner v. J.V.D.B. & Associates, Inc., 330 F.3d 991, 995 (7th

  Cir. 2003) (“under § 1692e ignorance is no excuse”).

         67.     Under the same general prohibition of false, misleading, or deceptive debt

  collection practices, the FDCPA prohibits a debt collector from “[c]ommunicating or

  threatening to communicate to any person credit information which is known or which

  should be known to be false. . . .” 15 U.S.C. § 1692e(8).

         68.     CPC violated 15 U.S.C. § 1692e by using false, deceptive, or misleading

  representations or means in connection with the collection of a debt, including by reporting

  false information to the credit reporting agencies concerning Plaintiff, and by failing to

  correct the false information once disputed.

                                    DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial

  by jury in this action of all issues so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendants

  for willful noncompliance of the Fair Credit Reporting Act and seeks remedies as defined

  by 15 U.S.C. § 1681 and demands:

         1.      Trial by jury.

         2.      Actual damages to be proven at trial, or statutory damages pursuant to 15

  U.S.C. § 1681n(a)(1)(A), of not less than $100 and not more than $1,000 per violation;




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         3.     Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for each Defendant’s

  willful violation;

         4.     The costs of instituting this action together with reasonable attorney’s fees

  incurred by Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and

         5.     Any further legal and equitable relief as the court may deem just and proper

  in the circumstances.

         WHEREFORE, Plaintiff seeks a reasonable and fair judgment against CPC for

  noncompliance of the Fair Debt Collection Practices Act and seeks remedies as defined by

  15 U.S.C. § 1692 and demands:

         1.     Trial by jury.

         2.     Adjudging that CPC violated 15 U.S.C. § 1692e;

         3.     Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

  1692k(a)(2)(A), in the amount of $1,000.00;

         4.     Awarding Plaintiff actual damages to be proven at trial, pursuant to 15 U.S.C.

  § 1692k(a)(1);

         5.     Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

  action pursuant to 15 U.S.C. § 1692k(a)(3);

         6.     Any further legal and equitable relief as the court may deem just and proper

  in the circumstances.

  Dated: April 17, 2024

                                                /s/ Trescot Gear
                                                Gear Law, LLC
                                                1405 W. Swann Ave.


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